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                    IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK

 In re:
                                                         Bankr. Case No. 16-10407-SMB
 TRANSCARE CORPORATION, et al.,                                     Chapter 7
                                                             (Jointly Administered)

 SHAMEEKA IEN on behalf of herself and all
 others similarly situated,

                        Plaintiff,

                        v.

 TRANSCARE CORPORATION,
 TRANSCARE NEW YORK, INC.,
 TRANSCARE ML, INC., TC AMBULANCE                         Adv. Case No. 16−01033−smb
 GROUP, INC., TRANSCARE
 MANAGEMENT SERVICES, INC., TCBA
 AMBULANCE, INC., TC BILLING AND
 SERVICES CORPORATION, TRANSCARE
 WESTCHESTER, INC., TRANSCARE
 MARYLAND, INC., TC AMBULANCE
 NORTH, INC. AND TRANSCARE
 HARFORD COUNTY, INC., LYNN
 TILTON, ARK CLO 2001-1 LIMITED, ARK
 INVESTMENT PARTNERS II, L.P.,
 PATRIARCH PARTNERS, LLC, and
 PATRIARCH PARTNERS III, LLC,

                        Defendants.

                 AMENDED STIPULATION AND SCHEDULING ORDER


          WHEREAS, counsel for Shameeka Ien (the “Plaintiff”) and counsel for Salvatore

LaMonica the Chapter 7 Trustee of the Debtors’ estates (the “Trustee”) TransCare Corporation,

TransCare New York, Inc., TransCare ML, Inc., TC Ambulance Group, Inc., TransCare

Management Services, Inc., TCBA Ambulance, Inc., TC Billing and Services Corporation,

TransCare Westchester, Inc., TransCare Maryland, Inc., TC Ambulance North, Inc. and TransCare

Harford County, Inc. (collectively, the “Debtors”) and counsel for Lynn Tilton, Patriarch Partners,
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LLC, Patriarch Partners III, LLC, Ark CLO 2000-1 Limited (“Ark CLO”) (incorrectly named as

“Ark CLO 2001-1 Limited”), and Ark Investment Partners II, L.P. (collectively, “Non-Debtor

Defendants;” and the Debtors and Non-Debtor Defendants are collectively the “Defendants”)

conferred to develop a proposed scheduling order for this matter;

        WHEREAS, on July 19, 2016, the Court held a pre-trial status conference in this matter

and on that date So Ordered and Entered the parties Stipulation and Proposed Scheduling Order;

        WHEREAS, the Defendants and Plaintiff continue to work cooperatively to facilitate

production of documents;

        WHEREAS, the Defendants and the Plaintiff will continue to work cooperatively to

complete all discovery within the time frame proposed below;

        WHEREAS, the Parties have conferred to develop the following revised, proposed

scheduling order;

        IT IS HEREBY ORDERED AS FOLLOWS:

        1.      Initial disclosures pursuant to Fed. R. Civ. P. 26(a)(1) have already been made in

this case.

        2.      Plaintiff has already made a motion for class certification and a class has already

been certified in this case.

        3.      All merits fact discovery shall be completed no later than July 31, 2018. The

parties, shall, pursuant to Federal Rule of Civil Procedure 26(a)(2), designate expert witnesses

regarding issues upon which they bear the burden of proof and make corresponding disclosures by

August 30, 2018.

        4.      The designation of rebuttal experts, if any, and the service of rebuttal expert reports

shall occur by October 1, 2018.




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       5.      Expert reports, rebuttal or otherwise, shall provide the information required by

Federal Rule of Civil Procedure 26(a)(2)(B).

       6.      The deadline to conclude all depositions of expert witnesses is October 22, 2018.

       7.      If any party desires to file a motion that would be dispositive of part or all of the

claims in this proceeding, such party must notify the Court and the other party of that intention no

later than November 8, 2018, and request a pre-motion conference with the Court prior to filing

any such motion.



STIPULATED AND AGREED

Dated: February 26, 2018                              Dated: February 26, 2018

/s/ Jack A. Raisner                                   /s/ Holly R. Holecek
Jack A. Raisner                                       Holly R. Holecek, Esq.
René S. Roupinian
                                                      LaMONICA HERBST & MANISCALCO, LLP
OUTTEN & GOLDEN LLP                                   Counsel to Salvatore LaMonica, as Chapter 7
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Dated: February 26, 2018
/s/ Kathleen M. McKenna
Kathleen M. McKenna
Allan S. Bloom

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LLC, Patriarch Partners III, LLC,



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Ark Clo 2001-1 Limited, and Ark
Investment Partners II, L.P.


SO ORDERED by the Court this 6th day of March, 2018.

                                                 /s/ STUART M. BERNSTEIN
                                           ___________________________________
                                           HONORABLE STUART M. BERNSTEIN
                                           UNITED STATES BANKRUPTCY JUDGE




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